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  RECE!VEO
   JUN 1 2017                             UNITED ST ATES DISTRICT COURT
  U.S. DISTRICT COURT                     EASTERN DISTRICT OF MISSOURI
EASTERN DISTRICT OF MO                                        DIVISION
       ST.LOUIS                            ~~~~~~~~




                                                                )
                                                                )
         NAME OF THE PLAINTIFF                                  )
                                                                )
                                 - vs -                         )
                                                                )
                                                                )      Case No.
                                                            l   )

                                                                )
                                                                )
                                                                )      JURY TRIAL DEMANDED
                                                                )
                                                                )          YES         NO~
         NAME OF THE DEFENDANT OR                               )
         DEFENDANTS (Enter above the·full name(s) of            )
         ALL defendant(s) inthis lawsuit. Please                )
         attach additional sheets if necessary.                 )


                              EMPLOYMENT DISCRIMINATION COMPLAINT

                  1.     This employment discrimination lawsuit is based on (check only those that apply):


           ~itle VII of the.Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq., for
                  employment discrimination on the basis of race, color, religion, gender, or national origin.
                  NOTE: In order to bring suit in federal district court under Title VII, you must first obtain
           /       right-to-s~e letter from the Equal Employment Opportunity Commission.            ·

               Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C §§ 621, et seq., for
               employment discrimination on the basis of age (age 40 or older).
               NOTE: In order to bring suit in federal district court under the Age Discrimination in
               Employment Act, you must first file charges with the Equal Employment Opportunity
           /'Commission.

                  American with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101, et seq., for
                  employment discrimination on the basis of disability.
                  NOTE: In order to bring suit in federal district court under the American with Disabilities
                  Act, you must first obtain a right-to-sue letter from the Equal Employment Opportunity
                  Commission.
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 /Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 701, et seq., for employment
     discrimination on the basis of a disability by an employer which constitutes a program or
     activity receiving federal financial assistance.
     NOTE: In order to bring suit in federal district court under the Rehabilitation Act of I 973,
      you must first file.charges with the appropriate Equal Employment Office representative or·
      agency.

      Other (Describe)




                                          PARTIES

      2.     Plaintiffs name:      L·~ 'b'C\    Gd/\...1      ~OfH

             Plaintiffs address:   2..CCD~     rY\ q~ \:Jen       1\ui.e.. tt{d+l\ ~~r--'
                                        Street address or P.O. Box


                                        City/ County/State/Zip Code (


                                        Area code and telephone number

      3.

             Defe~dant's address: l DO         L \.o-.er+'-1
                                                    1'
                                                         I
                                                                    i-\\J €.
                                        Street address or P.O. Box


                                        City/CountxfState/ Zip Code
                                        Lt-1~-3'l/      ~ 330r-
                                        Area code and telephone number

NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS, PLEASE
PROVIDE THEIR NAMES, ADDRESSES AND TELEPHONE NUMBERS ON A
SEPARATE SHEET OF PAPER.


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    ;,~~:--:.:.~:..-:::·· :;~· .'.·._~f~.:.~-~-5~'-'~~ ·:;:·:_ W~en dfci the di~c~imin~tion occur~                                                                             Please gi.ve. the date                             o~-time period:

'                                                 .. _, __ .......   · .. -·""""--          "'··-·       .•. --.~·-·. -      ....,.   ..   ·._'.~~...     .: ..
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                                                                                                                 ·-~-·   .


                                                              VYes . Date filed:                                                                    3-\ \:_Lo) liJ ..
                                                                          No

                                                        8.                    Have you received a Notice of Right-to-Sue Letter?

                                                                                       ~s                                                                                                           No

                              If yes, please attach a copy of the letter to this complaint.

                                                        9.                    If you are claiming age discrimination, check one of the following:

                                                             ~ days or more have passed since I filed my charge of age discrimi~ation with the
                                  Equal Employment Opportunity Commission.

                                                        _ _ fewer than 60 days have passed since I filed my charge of age discrimination with the

                                  Equal Employment Opportunity Commission.



                                                                                                                                                                        3
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SUBSEQUENT FILINGS

       Certificate of Service
       To file a motion, pleading or other paper, you must submit the original document to the Court
Clerk. The original document must include a certificate of service which should be in following
fonn:


                                      Certificate of Service




       Any pleading or document received by the court that fails to include a certificate of service
may be returned. In addition to filing the original document with the court, you must mail a copy
of each document to all other parties, or if they have counsel, to their attomey(s).

       Motions Filed By Other Parties
       If you do not timely respond to a motion filed by another party, you may waive your right to
challenge the subject matter of the motion. Applicable time periods are set forth in the Federal Rules
of Civil Procedure and the Court's Local Rules.

       Letters to the Court
       It is improper to send letters directly to district or magistrates judges regarding cases pending
before them. All correspondence should be forwarded to the Clerk of Court. Copies of
correspondence should also be sent to all other parties, or if they have counsel, to their attomey(s).

MAILING
       All correspondence, fees, legal documents, etc. should be brought or mailed to the following
address:
                     Clerk of Court
                     United States District Court
                     Eastern District of Missouri
                      111 S. Tenth Street, Suite 3.300
                     St. Louis, MO 63102



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                                         NATURE OF THE CASE

        10.         The conduct complained of in this lawsuit involves (check only those that apply):

                           failure to hire me

                    --1.L__ tennination of my employment
                       (i'g)
                    ~'failure to promote me

                    -~failure to accommodate my disability

                    ___ tenns and conditions of my employment differ from those of similar employees

                    ___!/_ retaliation
                          harassment

                    _     other conducqspecify): ~ \    1-0 (.\t<J~ ¥\ t...- Cl   1e.,\J.QA \.u~v.\-cteJn

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tr)(\~ ·e.G.\ ~ U -t. \\~,\- ~ \ \A.~(_~ '1:e ~~ Cl~\..yC!iA-t VI'·\-                    SU'fJ) ~n..{

+.~ c~r?l.W\\ ~ n~\.\e.A O.,J\.~n~ "~ l\W.iXv\._Vf                     ¥6\J )~')CJ" \.-~e... eJ91d'$1(1~
         Did you complain about this same conduct in your charge of discrimination?

                        ~es                                    No




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'·
...  \




                11.     I believe that I was discriminated against because· of my (check all that apply):

                               race

                               religion

                               national origin

                               color

                               gender

                          /disability

                        --V'8-ge (my birth date is:   LJ 'f          )



                Did you state the same reason(s) in your charge of discrimination?

                        L./" Yes                                     No

                  12.     State here, as briefly and clearly as possible, the essential facts of your claim.
         Describe specifically the conduct that you believe is discriminatory and describe how each defendant
         is involved in the conduct. Take time to organize your statement; you may use numbered paragraphs
         if you find it helpful. It is not necessary to make legal arguments, or to cite cases or statutes.
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           5/18/2017

           Lisa Boey

           2905 Madison Ave A rear

           Granite City, 111.inois 62040

           LisaBoey68@gmail.Com

           314-583-5329




           To Whom It May Concern I am in a financial hardship I cannot pay the 400.00 regarding fees to
           file notice of suit.

           1 .The American with Disabilities (ADA) Rights under Amendment Act of 2008

           Limitation from low vision, major depression epilepsy, breathing problems heart disease

           2. Equal Pay Act Age 47 years of age Discrimination of Employment and the American
           disabilities Act,

           3. Retaliation for filing a complaint civil rights act of 1964 contacting the U. S. Equal




           CC: Lisa Boey

           CC: United District Court Eastern District of Missouri Division




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       13.    The acts set forth in paragraph 12 of this complaint:

             _ _ are still being committed by the defendant.

             _ _ are no longer being committed by the defendant.

             _ _ may still be being committed by the defendant.

                                 REQUEST FOR RELIEF

      State briefly and exactly what you want the Court to do for you. Make no legal arguments;

~no cases or statutes.    ~

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